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 RECEIVED                                    UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT Of ILLINOIS
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                                                        EASTERN DIVISION

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      Dianne Kampinen        - Plaintifl       pro se                      Case No.

      -v-                                                                  Jury demanded

      U.S. Census Bureau, Dr Steven Dillingham, Director-
      U.S. Department of Commerce, Honorable Wilber Ross, Secretarv



                                                                           I               Lei   nernveber
                                                                      "'.on:,*Ht8
                                                           COMPLAINT Magistrate Judge Jeffiey          Cummings

      Plaintiff alleges as follows:

      This is an action alleging Defendants' adamant, willful refusal to pay Plaintiff wages earned
      during employment with US Census Bureau, while, to this date, maintaining that Plaintiff did not
      even work for the Census Bureau. It alleges a violation by Defendants for non-payment              of
      earned wages, pursuant to:

            1.   Fair Labor Standards Act, 29 CFR Section 516.5(a) ( "Payroll Records"            ) Payroll
                 Records must be kept for "at least" three years"    -
            2.   and, 29 USC Section2ll (a)(5) ( describing what constitutes a violation of ACT, i.e., a
                 disregard   of   29 USC Section2ll (c)t and its recordkeeping requirement )

            3. This Complaint alleges willful non-payment          of wages by Defendants and supervisors of
                 the 2010 Census, who were, and are, fully aware of the FLSA requirements but who


       l Fair Labor Standards          Act   21 1 (c)


       "Every employer subject to any provision ofthis chapter or ofany order issued under this chapter shall
       make, keep, and preserve such records ofthe persons employed by him and ofthe wages, hours, and

       other conditions and practices of employment maintained by him, and shall preserve such records    for
       such periods of time ....   "
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       have denied that Plaintiff worked for Census, and have not, up to this time, paid those

       wages that are due.




ruRISDICTION and VENUE

  4.   This court has Jurisdiction pursuant to 28 USC Section 1361 since this Complaint is an
       action to compel a Government Agency /its employees to perform a duty owed to
       Plaintifl   and   it alleges a breach of that duty;
  5. This Court has subject-matter         Jurisdiction under 28 USC Section 133 1, since this
       Complaint is a Civil Action arising under laws of the United States, and its Statutes, and
       Jurisdiction under 28 USC Section 1346 is proper since Defendant is an agency of the
       Federal Government.
  6. Venue is proper pursuant to 28 USC Section l39l(e ) (l) (B) and (C) since Defendant is
       an employee of the United States; events of this Complaint occurred in the Northem

       District of Illinois.




PARTIES _

  7. Plaintiff     is an individual, who resides in Chicago, and was employed by Census Bureau
       in 2010, as an Enumerator Trainee, from April 27 to April29,2010
  8.   Defendant Ross is current Secretary of Department of Commerce, which is the agency
       over United States Census Bureau, who, on information and belief, resides and works in
       Washington DC
  9.   Defendant Dr Dillingham is current Director of U.S. Census Bureau, and on information
       and belief, resides in Maryland.

  10. Melissa Simon,       Liz I last   rurme unknown   ] and other employees and supervisors not
       named above, but represented Census employer in 2010, and hired me.
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FACTS of Case

   I   l. In 2009, Plaintiff took test for   Census Bureau Enumerator position, for 2010 Census, and

         received a high score, and was hired in April, 2010. First day of work was April 27,2010
         at assigned site on N. Clark Street ( a bank building )

   12.   Plaintiff arrived at site on Tuesday, April 27,2010. She was told immediately that "you
         were supposed to be here yesterday, we did fingerprints and everything" ( verbatim            ) But
         Plaintiff had arrived on date assigned to her during interview, and had taken care to check
         out the locale and date, and imparted that to    "Lit'the   Trainer, who replied that Plaintiff
         can "stay and train here"   -
   13. The Trainees were handed a satchel, into which, at end of workday, we were to write

         down our hours worked on a certain Form [
                                                   *D-308" and to place that Form inside - we
                                                          ]
         were admonished to never take the satchel out of the building.
   14. Since others in group had already had HR processing,Lizplayed catch-up during their

         break, and presented Plaintiff with trvo Forms to complete, for which Plaintiff presented
         her   ID's. The Forms were [-9 [ DHS ]     and the Direct Deposit Form,     for which Plaintiff
         had brought her account     information.Liz's supervisor, Simon, was present       as   Plaintiff
         completed the two Forms. Liz did not finish the HR processing that day.
   15. On Thursday, April28th,       Liz administered the Oath I of Office ] - as required by
         employees of a Federal agency.
   16. On same day,      Liz informed Plaintiff that   she was terminated; and gave no clear

         explanation.
   17. Although fingerprinting is mandatory for Census         employment,Lizdid not fingerprint
         Plaintiff.
   18.   Plaintiff within a few days, contacted Regional supervisors, as she believed her
         termination was unfair. In fact, when Plaintiff reached Lizto ask why bank did not have
         her pay,Liz revealed that the termination was not her I Liz's ] decision.
   19. Plaintiff waited to receive a response from Census HR. She also checked with the Bank

         to see if her pay had been deposited. It had not. Yet, Form D-308       -   with hours recorded,
         and Direct Deposit Form properly submitted       - would have resulted in Plaintiffreceiving
         the timely pay deposit.
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20. During this time, Plaintiffheard from a few local-office supervisors, one of whom
   seemed concerned that Plaintiff had contacted a higher Regional entity, and written a

   letter, as well.
21. These supervisors urged Plaintiff to "come to pick up" her pay. Plaintiff informed them
   that she expected that her pay would be deposited via Direct Deposit, and that this was
   the method required, anyway. She also asked that she be able to resume work, and asked,
   too, whether      - if she comes to pick up her pay, she will also be fingerprinted,   and resume

   training. This, because one of the persons      she contacted at Regional     office or higher
   offices, had said "I don't think you were fired."
22. So, Plaintiff was in midst of expecting response of Regional or HR overall, to let her
   know more about why she was seemingly, now, with no prospects of being an
   Enumerator. She declined, via phone call, to go to pick up her pay, in person, for she
   knew that,   if   she did so, the persons who had made a mistake in denying fingerprinting I

   mandatory part of HR ] may want her to be erased, so to speak, from the books, or
   payroll, and there would then be no obligation to concem themselves with the fact that
   Plaintiff had filled out the Direct Deposit Form.
23. Plaintiff filed a lawsuit in2011, alleging wrongful denial of due process by HR
    Department of Census Bureau. The facts: an applicant for a Federal job, who has an
    arrest record, as Plaintiff has, would be presented with a "30-day" letter by Census, after

    I-9 and other background information and fingerprints have been submitted to Justice
    Department / Government, and an employee may then have opportunity to respond to that
    background discovery, but, without the fingerprint submission by Trainers, Plaintiff was
    denied opportunity to continue with training.
24.Plaintiffalleged mis-deeds by the local office of Census.
25. Now, after time has passed, and since Plaintiff tended to her lawsuit, which is her right,

    she was also not urgently     inquiring about the 3 days' pay due her.
26. Plaintiff is now taken aback that, when she began that urgent, persistent and diligent
    inquiry around 2017, Census officials behaves as if she never worked for that agency,
    and have told her that they cannot     "find" that   she ever worked   for Census. Plaintiff is
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          well aware of the 3 year-recordkeeping statute comment 2made to her in around 2019,
          when she was communicating with various officials        -   however, I now ask that this Court

          be informed   - and to understand - that I deserve to be paid for work performed.


Prayer for   Relief-

I   ask this Court to grant   relief in awarding the pay due me, plus back-pay and liquidated
damages, due to Defendants' surprising non-acknowledgement, and their consistent non-

response to my persistent requests, calls, inquiries    -   and their buck-passing - their outright

denials and their on-and-off promises to look into the matter. When I followed up, they would
promise once again that someone in authority was either looking into the matter, or would look

into the matter. Yet, I was patient, since I had waited so long for this Agency, local Census
people, to do their duty, and was now even willing to wait further.




Respectfully,

      ( L,ru- l-r'uv*'                                                   March 3,2020

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